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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
                                                     )
    SHAKIEMA JOHNSON, individually                   )
    and on behalf of a class of similarly            )
    situated persons,                                )
                                                     )        Case No. 1:17-CV-06079
                  Plaintiff,                         )
                                                     )
          vs.                                        )
                                                     )
    PIZZA HUT, INC., EYM GROUP, INC.                 )
    and EYM PIZZA OF ILLINOIS, LLC,                  )
                                                     )
                  Defendants.                        )

                                       NOTICE OF REMOVAL

         Defendant Pizza Hut, LLC, successor in interest to Pizza Hut, Inc. (“Pizza Hut”)1, hereby

removes this action to the U.S. District Court for the Northern District of Illinois pursuant to 28

U.S.C. § 1331 and 28 U.S.C. § 1332(d). In support thereof, Pizza Hut states as follows:

I.       THE REMOVAL IS TIMELY FILED AND PROCEDURALLY PROPER.

         1.     On or about July 14, 2017, Plaintiff Shakiema Johnson (“Plaintiff”) filed a

Complaint in the Circuit Court of Cook County, Illinois, alleging a class action against Pizza Hut,

EYM Group, Inc. (“EYM Group”) and EYM Pizza of Illinois, LLC (“EYM Pizza”), Case No.

2017-L-007102. (See Exhibit A, which constitutes a copy of the Complaint, process and other

documents served upon Pizza Hut in this action, attached hereto.)

         2.     Pizza Hut was served with the Complaint on July 20, 2017. Id. Accordingly,

removal is timely pursuant to 28 U.S.C. § 1446(b).2


1
  On May 20, 2016 Pizza Hut, Inc. was converted to Pizza Hut, LLC, and Pizza Hut, Inc. ceased to exist as
a corporate entity. See Affidavit of Erika Burkhardt, attached as Exhibit B at ¶ 3.
2
  Thirty days from July 20, 2017, is Saturday, August 19, 2017. However, pursuant to Rule 6(a)(1), when
“the last day of the period [] is a Saturday, Sunday, or legal holiday, the period continues to run until the

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        3.      Further, in accordance with 28 U.S.C. § 1446(d), all parties and the Clerk of the

Circuit Court of Cook County are being served with copies of this Notice of Removal.

        4.      Venue is proper in this Court. Compl. at ¶ 2.

        5.      All Defendants, including EYM Pizza and EYM Group, consent to removal.

II.     THIS CASE MAY BE REMOVED BASED ON THE SUBSTANTIAL FEDERAL
        QUESTION DOCTRINE.

        6.      Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over Plaintiff’s

this action because it arises under federal law. See Grable & Sons Metal Products, Inc. v. Darue

Engineering & Mfg., 545 U.S. 308, 312 (2005).

        7.      Specifically, Plaintiff’s Complaint purports to bring a claim for unpaid wages on

behalf of all non-exempt employees nationwide, which necessarily incorporates and depends upon

the Fair Labor Standard Act, 29 U.S.C. § 201 et seq. See Compl. at ¶¶ 10, 13, 15 and 16. It is

plainly evident that Plaintiff’s request for nationwide class relief invokes federal law, as Illinois

law has no application outside the State of Illinois. Id.

        8.      Further, an additional federal question exists because Plaintiff’s Complaint

necessarily states a federal issue as to the joint employer standard, which is actually disputed and

substantial. Compl. at ¶¶ 16, 23 – 26; Grable, 545 U.S. at 314.

        9.      Thus, this action is properly removable to federal court pursuant to 28 U.S.C. §§

1331.




end of the next day that is not a Saturday, Sunday, or legal holiday.” Thus, this Notice is timely filed on
Monday, August 21, 2017. See, e.g., Despres v. Ampco-Pittsburgh Corp., 577 F. Supp. 2d 604, 609 (D.
Conn. 2008) (holding removal was timely filed on following Monday when 30-day period ended on
Saturday).

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III.    IN ADDITION OR IN THE ALTERNATIVE, THIS CASE MAY BE REMOVED
        BASED ON THE CLASS ACTION FAIRNESS ACT OF 2005.

        10.    Removal of this action is also proper pursuant to the Class Action Fairness Act of

2005, 28 U.S.C. § 1332(d) (“CAFA”), because minimal diversity is satisfied, the potential class

exceeds 100 people, and more than $5,000,000 in the aggregate is at controversy.

        A.     Minimal Diversity Exists.

        11.    As to minimal diversity, Pizza Hut is a Delaware limited liability company with its

principal place of business in Texas. The sole member of Pizza Hut, LLC is Pizza Hut Guarantor,

LLC, which is a Delaware limited liability company with its principal place of business in Texas.

See Affidavit of Erika Burkhardt, attached as Exhibit B at ¶ 5.

        12.    Plaintiff is a resident of the State of Illinois. Compl. at ¶ 8.

        13.    Thus, minimal diversity is satisfied.

        B.     The Potential Class Exceeds 100 Individuals.

        14.    As to the size of the potential class, Plaintiff seeks to represent a class of “all former

and current, non-exempt Pizza Hut, EYM Group, and EYM Pizza employees nationwide, who

were compensated on an hourly basis [] under the IMWL and IWPCA at any time within the

applicable limitations period and continuing through the present.” Compl. at ¶ 10.

        15.    Under the Illinois Minimum Wage Law (“IMWL”), an employee may recover

compensatory damages for the three-year period immediately preceding the filing of the original

complaint, interest on all regular and overtime compensation due, and “damages of 2% of the

amount of any such underpayments for each month following the date of payment during which

such underpayments remain unpaid.” 820 Ill. Comp. Stat. Ann. 105/12(a). See also ABM Sec.

Servs., Inc. v. Davis, 646 F.3d 475, 477 (7th Cir. 2011).




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          16.    Similarly, under the FLSA, a plaintiff alleging a willful violation may recover three

years of damages, as well as liquidated damages. 29 U.S.C.A. §§ 255(a), 216(b).

          17.    Under the Illinois Wage Payment and Collection Act (“IWPCA”), an aggrieved

employee is entitled to recover “the amount of any such underpayments and damages of 2% of the

amount of any such underpayments for each month following the date of payment during which

such underpayments remain unpaid.” 820 Ill. Comp. Stat. Ann. 115/14. The IWPCA does not set

forth a statute of limitations, but it is commonly regarded as having a 10-year statute of limitations.

House v. Illinois Bell Tel. Co., 148 F. Supp. 3d 701, 705 (N.D. Ill. 2015).

          18.    From July 14, 2014 until July 14, 2017, Pizza Hut employed, through its affiliated

operating entity, Pizza Hut of America, LLC, 51,460 non-exempt individuals nationwide. Ex. B

at ¶ 9.

          19.    From July 14, 2007 until July 14, 2017, Pizza Hut employed, through its affiliated

operating entity, Pizza Hut of America, LLC, 12,086 non-exempt individuals in Illinois. Ex. B. at

¶ 7.

          20.    Thus, the potential class exceeds 100 people.

          C.     The Amount in Controversy Exceeds $5,000,000.

          21.    Finally, as the amount in controversy, Plaintiff does not specifically allege the

number of hours she and her co-workers allegedly worked without proper compensation, however

she does use the term “hours” in the plural form, indicating that this time exceeds one hour.3

Compl. at ¶ 10.




3
 The amounts asserted in this Notice of Removal are merely those amounts which Plaintiff’s
Complaint can be reasonably read to be alleging as unpaid wages. While these amounts are in
controversy, they are expressly and strongly denied by Pizza Hut as being owed to Plaintiff or to
any other potential class member. Pizza Hut asserts that its time records accurately reflect the

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        22.    In 2007, Pizza Hut operated, through its affiliated operating entity, Pizza Hut of

America, LLC, 105 locations in Illinois. Ex. B at ¶ 6.

        23.    Assuming each of the 12,086 Pizza Hut employees located in Illinois worked only

one hour of uncompensated overtime (calculated as time and a half) during each week of his or

her employment at Pizza Hut between July 14, 2007 and July 14, 2017, based on each individual’s

hourly rate the damages on the IWPCA claim would amount to $14,473,087.77. 4 Id. at ¶ 8.

        24.    Similarly, assuming each of the 51,460 Pizza Hut employees nationwide worked

only one hour of overtime (calculated as time and a half) during each week of his or her

employment during each week of his or her employment at Pizza Hut between July 14, 2014, and

July 14, 2017, based on each individual’s hourly rate the damages on Plaintiff’s claim on the

IMWL claim would amount to $25,895,351.55. 5 Id. at ¶ 10.

        25.    The alleged unpaid wages under the IWPCA and the IMWL total $40,368,439.32.

        26.    Further, attorneys’ fees and costs are recoverable under the IWPCA, the IMWL and

the FLSA, and may be counted toward the amount in controversy under CAFA. 820 Ill. Comp.

Stat. Ann. 115/14; 820 Ill. Comp. Stat. Ann. 105/12(a); 29 U.S.C.A. § 216(b). See ABM Sec.

Servs., Inc., 646 F.3d at 479 (holding recovery of more than $5 million was not legal impossibility,

and thus removal under CAFA was warranted).

        27.     Thus, the $5,000,000 jurisdictional minimum is satisfied, even without

consideration of the damages allegedly suffered by non-exempt employees of Defendants EYM

Group and EYM Pizza.




hours worked by Plaintiff or any other potential class member; and that the proper wage rate was
paid to Plaintiff or any other potential class member for all hours worked.
4
  This figure does not include interest or the 2% statutory penalty.
5
  This figure does not include interest or the 2% statutory penalty.

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IV.     CONCLUSION

        As established above, removal is appropriate under either the substantial federal question

doctrine or the CAFA.

        Respectfully submitted this 21st day of August, 2017.

                                             CONSTANGY, BROOKS, SMITH &
                                             PROPHETE, LLP

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of August, 2017, a copy of the above and foregoing

was served via the Court’s electronic filing system and FedEx, postage prepaid, on the following:

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                                                           /s/Susan Bassford Wilson
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